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                                   UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION


UNITED STATES,

          Plaintiff,

v.                                                                       Case No.    11-20129 & 11-20066

VICTOR CARLOS CASTANO (D-12),

          Defendant.
                                                               /

     OPINION AND ORDER DENYING DEFENDANT’S MOTION FOR SEVERANCE

          On April 17, 2015 Defendant Victor Carlos Castano filed, under seal, a motion for

severance. The motion rests on the argument that a joint trial with a particular co-

Defendant would violate Defendant’s right to confrontation. Since the time of filing the

motion, however, that co-Defendant has pleaded guilty and will therefore not be tried

with Defendant Castano. Accordingly,

          IT IS ORDERED that the April 17, 2015 motion to sever is DENIED AS MOOT.


                                                                s/Robert H. Cleland
                                                               ROBERT H. CLELAND
                                                               UNITED STATES DISTRICT JUDGE

Dated: September 23, 2015

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, September 23, 2015, by electronic and/or ordinary mail.

                                                                s/Lisa Wagner
                                                               Case Manager and Deputy Clerk
                                                               (313) 234-5522

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